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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:05CR3031-2
           v.                        )
                                     )
MARIA DE LOS ANJELES MENDEZ,         )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED,

     Defendant’s motion to extend deadline, filing 22, is granted
and the deadline for defendant Maria De Los Anjeles Mendez to
file pretrial motions is extended to May 27, 2005.

     DATED this 25th day of April, 2005.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
